                                                EXHIBIT I

Case: 20-04021   Doc# 12   Filed: 03/04/20   Entered: 05/01/20 16:28:06   Page 1 of 3
                                                                                                                     FILED
                                                                                                                     Merced Superior Court
                                                                                                                     6/8/2018 9:17 AM
This e-copy is the official court record (GC68150)




                                                                                                                     Linda Romero Soles
                                                                                                                     Clerk of the Superior Court
                                                                                                                     By: Nengsy Moua, Deputy




                                                     Case: 20-04021   Doc# 12   Filed: 03/04/20   Entered: 05/01/20 16:28:06   Page 2 of 3
                                                                   on the following:
This e-copy is the official court record (GC68150)




                                                                                                               Michael Abbott
                                                                                                             126 South 3'“ Street
                                                                                                             Oakdale, CA 95361

                                                                   by placing a true copy in a sealed envelope, addressed as shown above, with postage thereon

                                                                   fully prepaid, in the designated area for outgoing mail.


                                                      owooﬂokllh
                                                                       I   declare under penalty 0f perjury under the laws 0f the State of California that the foregoing

                                                                   is true and correct and that this Declaration is e       cuted June 8, 201 8, at Merced, California.




                                                                                                                   (/w/ (Af#
                                                                                                                                                                4

                                                                                                    \ﬁ/
                                                                                                                   Monica Cisneros

                                                     ll




                                                     13


                                                     14

                                                     15

                                                     16

                                                     17

                                                     18

                                                     19

                                                     20

                                                     21

                                                     22

                                                     23

                                                     24

                                                     25

                                                     26

                                                     27

                                                     28

                                                                                                                        2
                                                                                                          PROOF 0F SERVICE
                                                                   Case: 20-04021          Doc# 12      Filed: 03/04/20        Entered: 05/01/20 16:28:06        Page 3 of 3
